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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                      §
     Plaintiff/Respondent,                     §
                                               §
V.                                             §          CR. No. C-05-346 (2)
                                               §          C.A. No. C-08-90
STEVE ALLEN LOPEZ,                             §
     Defendant/Movant.                         §


             FINAL JUDGMENT OF DISMISSAL WITHOUT PREJUDICE

       The Court enters final judgment dismissing without prejudice defendant Steve Allen

Lopez’s motion pursuant to 28 U.S.C. § 2255.


       ORDERED this 30th day of September, 2008.



                                           ____________________________________
                                                       Janis Graham Jack
                                                   United States District Judge
